                   Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 1 of 42



 1   SEYFARTH SHAW LLP
     Eric Lloyd (SBN 254390)
 2   elloyd@seyfarth.com
     Kiran S. Lopez (SBN 252467)
 3   klopez@seyfarth.com
     560 Mission Street, 31st Floor
 4   San Francisco, California 94105
     Telephone:    (415) 397-2823
 5   Facsimile:    (415) 397-8549

 6   Attorneys for Defendant
     LOWE’S HOME CENTERS, LLC
 7
 8
 9                                      UNITED STATES DISTRICT COURT

10                                     NORTHERN DISTRICT OF CALIFORNIA

11
     CHITTARANJAN RAO, an individual,                          Case No.
12
                          Plaintiff,                           (Santa Clara County Superior Court,
13                                                             Case No. 21CV375681)
              v.
14                                                             DEFENDANT LOWE’S HOME
     LOWE’S HOME CENTERS, LLC; and DOES 1                      CENTERS, LLC’S NOTICE OF
15   THROUGH 20, inclusive,                                    REMOVAL OF CIVIL ACTION TO
                                                               UNITED STATES DISTRICT COURT
16                        Defendants.                          PURSUANT TO DIVERSITY OF
                                                               CITIZENSHIP JURISDICTION [28 U.S.C.
17                                                             SECTIONS 1332 AND 1441]

18                                                             Complaint Filed: January 4, 2021
                                                               Trial Date: None.
19
20            To the United States District Court for the Northern District of California and to Plaintiff

21   CHITTARANJAN RAO and his attorneys of record:

22            Please take notice that Defendant LOWE’S HOME CENTERS, LLC hereby files this Notice of

23   Removal pursuant to 28 U.S.C. Sections 1332 and 1441(a) and (b), based on diversity of citizenship

24   jurisdiction, in order to effectuate the removal of the above-captioned action from the Superior Court of

25   the State of California, County of Santa Clara, to the United States District Court for the Northern District

26   of California, and states that removal is proper for the following reasons:

27
28

                        DEFENDANT LOWE’S HOME CENTERS, LLC’S NOTICE OF REMOVAL
     68634727v.1
                   Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 2 of 42



 1   I.       BACKGROUND

 2            1.       On January 4, 2021, Plaintiff Chittaranjan Rao (“Plaintiff”) filed a Complaint in the

 3   Superior Court of the State of California, County of Santa Clara, entitled, Chittaranjan Rao v. Lowe’s

 4   Home Center, LLC; and DOES 1 through 20, inclusive, designated as Case No. 21CV375681. In the

 5   Complaint, Plaintiff alleges nine causes of action against Defendant Lowe’s Home Centers, LLC

 6   (“Lowe’s”): (1) Race Discrimination in Violation of the Fair Employment and Housing Act (“FEHA”);

 7   (2) National Origin Discrimination in Violation of FEHA; (3) Ancestry Discrimination in Violation of

 8   FEHA; (4) Hostile Work Environment Harassment in Violation of FEHA; (5) Failure to Prevent Hostile

 9   Work Environment Harassment in Violation of FEHA; (6) Retaliation in Violation of FEHA; (7)
10   Wrongful Termination in Violation of Public Policy; (8) Intentional Infliction of Emotional Distress; and

11   (9) Unfair Competition Law.

12            2.       On February 9, 2021, Plaintiff served Defendant with the Summons, Complaint, and Santa

13   Clara County Superior Court Alternative Dispute Resolution Information Sheet. True and correct copies

14   of the Summons, Complaint, and Santa Clara County Superior Court Alternative Dispute Resolution

15   Information Sheet served on Defendant are attached as Exhibit 1.

16            3.       On March 10, 2021, Defendant filed its Answer to the Complaint in Santa Clara County

17   Superior Court. A true and correct copy of Defendant’s Answer filed in Santa Clara County Superior

18   Court is attached as Exhibit 2.

19            4.       Exhibits 1 and 2 constitute all of the pleadings served on Defendant and/or filed by
20   Defendant in the state court action prior to filing this Notice of Removal. See accompanying Declaration

21   of Kiran S. Lopez (“Lopez Decl.”), ¶3. There is a Case Management Conference scheduled in the Santa

22   Clara County Superior Court for May 11, 2021. Lopez Decl., ¶4.

23   II.      TIMELINESS OF REMOVAL

24            5.       This notice of removal is timely as it is filed less than one year from the date this action

25   was commenced and within thirty days of the service of the Summons and Complaint upon Lowe’s Home

26   Centers, LLC, the moving defendant. 28 U.S.C. § 1446(b); Murphy Bros., Inc. v. Michetti Pipe Stringing,

27   Inc., 119 S. Ct. 1322 (1999) (thirty-day deadline to remove commences upon service of the summons

28   and complaint). See Ex. 1.
                                                           2
                        DEFENDANT LOWE’S HOME CENTERS, LLC’S NOTICE OF REMOVAL
     68634727v.1
                    Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 3 of 42



 1   III.      JURISDICTION BASED ON DIVERSITY OF CITIZENSHIP

 2             6.       The Court has original jurisdiction of this action under 28 U.S.C. Section 1332(a)(1). As

 3   set forth below, this action is removable pursuant to 28 U.S.C. Section 1441(a) as the amount in

 4   controversy is in excess of $75,000, exclusive of interest and costs, and is between citizens of different

 5   states.

 6             7.       Plaintiff’s Citizenship. “An individual is a citizen of the state in which he is domiciled

 7   ….” Boon v. Allstate Ins. Co., 229 F. Supp. 2d 1016, 1019 (C.D. Cal. 2002) (citing Kanter v. Warner-

 8   Lambert Co., 265 F.3d 853, 857 (9th Cir. 2001)). For purposes of diversity jurisdiction, citizenship is

 9   determined by the individual’s domicile at the time that the lawsuit is filed. Armstrong v. Church of
10   Scientology Int’l, 243 F.3d 546, 546 (9th Cir. 2000) (citing Lew v. Moss, 797 F.2d 747, 750 (9th Cir.

11   1986)). Evidence of continuing residence creates a presumption of domicile. Washington v. Havensa

12   LLC, 652 F.3d 340, 345 (3d Cir. 2011).

13             8.       At the time Plaintiff filed this civil action, Plaintiff was a citizen and resident of the State

14   of California, residing in the county of San Santa Clara. See Ex. 1 (Complaint), ¶1. Plaintiff alleges in

15   the Complaint that he “worked for Defendant at Sunnyvale, California in the County of Santa Clara.” Id.,

16   ¶7. Plaintiff’s home address during the period when he worked at Lowe’s was within the State of

17   California. See accompanying Declaration of Genevieve Wynsen (“Wynsen Dec.”), ¶3. There are no

18   documents in Plaintiff’s personnel file to suggest in any way that he is currently, or during the periods of

19   his employment was, a resident or citizen of any state other than California. Id.
20             9.       Defendant’s Citizenship. In a removal, a limited liability company is treated as a

21   partnership for purposes of diversity, and citizenship depends on the citizenship of its members. Johnson

22   v. Columbia Props. Anchorage, LP, 437 F.3d 894, 899 (9th Cir. 2006). A corporation is deemed to be

23   a citizen of any state in which it has been incorporated and of any state where it has its principal place of

24   business. 28 U.S.C. § 1332(c)(1). The “principal place of business” for the purpose of determining

25   diversity subject matter jurisdiction refers to “the place where a corporation’s officers direct, control, and

26   coordinate the corporation’s activities .… [I]n practice it should normally be the place where the

27   corporation maintains its headquarters-provided that the headquarters is the actual center of direction,

28
                                                              3
                         DEFENDANT LOWE’S HOME CENTERS, LLC’S NOTICE OF REMOVAL
     68634727v.1
                   Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 4 of 42



 1   control, and coordination, i.e., the ‘nerve center,’ and not simply an office where the corporation holds its

 2   board meetings[.]” See Hertz Corp. v. Friend, 559 U.S. 77, 92-93, 130 S.Ct. 1181, 1192 (2010).

 3            10.      Defendant Lowe’s Home Centers, LLC is a limited liability company that at all relevant

 4   time was organized and existing under the laws of the State of North Carolina. Wynsen Decl., ¶4.

 5            11.      Defendant Lowe’s Home Centers, LLC’s sole member is Lowe’s Companies, Inc. Id.

 6            12.      Lowe’s Companies, Inc. is, and at the time the civil action was instituted was, a corporation

 7   organized under the laws of North Carolina. Id., ¶5.

 8            13.      Lowe’s Companies, Inc.’s headquarters—where its high-level officers direct, control, and

 9   coordinate the corporation’s activities— is located in North Carolina. Id. Thus, Lowe’s Companies, Inc.
10   is a citizen of North Carolina.

11            14.      Because Lowe’s Companies, Inc. is a citizen of North Carolina, Defendant is a citizen of

12   the State of North Carolina, not California. Thus, the requisite diversity of citizenship exists. See 28

13   U.S.C. §1332(c)(1).

14            15.      Furthermore, in compliance with 28 U.S.C. Section 1441(b), “none of the parties in interest

15   properly joined and served as defendants is a citizen of the State in which [this] action is brought.”

16   Pursuant to 28 U.S.C. section 1441(a) the citizenship of defendants sued under fictitious names shall be

17   disregarded. The inclusion of “Doe” defendants in Plaintiff’s state court complaint has no effect on

18   removability. Newcombe v. Adolf Coors Co., 157 F.3d 686, 690-91 (9th Cir. 1998); 28 U.S.C. § 1441

19   (a) (stating that for purposes of removal, the citizenship of defendants sued under fictitious names shall
20   be disregarded). In determining whether diversity of citizenship exists, only the named defendants are

21   considered. Id.

22            16.      Amount in Controversy. While Defendant denies any liability as to Plaintiff’s claims,

23   the amount in controversy requirement for diversity jurisdiction is satisfied because “it is more likely than

24   not” that the amount exceeds the jurisdictional minimum of $75,000. 28 U.S.C. § 1332(a)(1); see Sanchez

25   v. Monumental Life Ins. Co., 102 F.3d 398, 404 (9th Cir. 1996) (where a plaintiff’s state court complaint

26   does not specify a particular amount of damages, the defendant must provide evidence establishing that it

27   is “more likely than not” that the amount in controversy exceeds the requisite threshold).

28
                                                           4
                        DEFENDANT LOWE’S HOME CENTERS, LLC’S NOTICE OF REMOVAL
     68634727v.1
                   Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 5 of 42



 1            17.      Where a complaint does not allege a specific amount in damages, the removing defendant

 2   bears the burden of proving by a preponderance of the evidence that the amount in controversy exceeds

 3   the statutory minimum. Abrego v. The Dow Chem. Co., 443 F.3d 676, 683 (9th Cir. 2006); Guglielmino

 4   v. McKee Foods Corp., 506 F.3d 696, 701 (9th Cir. 2007). Further, “the amount-in-controversy inquiry

 5   in the removal context is not confined to the face of the complaint.” Valdez v. Allstate Ins. Co., 372 F.3d

 6   1115, 1117 (9th Cir. 2004) (finding that a court may consider facts presented in the removal petition).

 7   When the amount in controversy is not apparent from the face of the complaint, a defendant may set forth

 8   underlying facts supporting its assertion that the amount in controversy exceeds the jurisdictional

 9   threshold. Id.; see also Gaus v. Miles, Inc., 980 F.2d 564, 566-67 (9th Cir. 1992).
10            18.      As the Supreme Court has explained, “a defendant’s notice of removal need only include

11   a plausible allegation that the amount in controversy exceeds the jurisdictional threshold.” Dart Cherokee

12   Basin Operating Co., LLC v. Owens, 135 S. Ct. 547, 553-54 (2014) (“[W]hen a defendant seeks federal-

13   court adjudication, the defendant’s amount-in-controversy allegation should be accepted when not

14   contested by the plaintiff or questioned by the court.”); see also Valdez, 372 F.3d at 1117 (“the parties

15   need not predict the trier of fact’s eventual award with one hundred percent accuracy”). Defendant is not

16   obligated to “research, state, and prove the plaintiff’s claims for damages.” Behrazfar v. Unisys Corp.,

17   687 F. Supp. 2d 999, 1004 (C.D. Cal. 2009) (quoting Korn v. Polo Ralph Lauren Corp., 536 F. Supp.

18   2d 1199, 1204-05 (E.D. Cal. 2008)); Rippee v. Boston Market Corp., 408 F. Supp. 2d 982, 986 (S.D.

19   Cal. 2005) (noting that the inquiry is “what is in controversy” by the plaintiff’s complaint, not what a
20   defendant will actually owe).

21            19.      In determining whether a complaint meets the $75,000 threshold under 28 U.S.C. Section

22   1332(a), the Court must consider a plaintiff’s alleged aggregate damages, special damages, punitive

23   damages, and attorneys’ fees. See Galt G/S v. JSS Scandinavia, 142 F.3d 1150, 1156 (9th Cir. 1998)

24   (claims for statutory attorneys’ fees may be included in amount in controversy, regardless of whether such

25   an award is discretionary or mandatory); Davenport v. Mutual Benefit Health & Accident Ass’n, 325 F.2d

26   785, 787 (9th Cir. 1963) (punitive damages may be taken into account in determining amount in

27   controversy where recoverable under state law); Conrad Assocs. v. Hartford Accident & Indemnity Co.,

28
                                                         5
                        DEFENDANT LOWE’S HOME CENTERS, LLC’S NOTICE OF REMOVAL
     68634727v.1
                   Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 6 of 42



 1   994 F. Supp. 1196, 1198 (N.D. Cal. 1998) (“amount in controversy” includes claims for general and

 2   special damages, including attorneys’ fees and punitive damages).

 3            20.      The calculations supporting the amount in controversy are based on Plaintiff’s potential

 4   recovery pursuant to the claims alleged in the Complaint, assuming, without any admission, the truth of

 5   any of the allegations, and assuming liability (which is disputed) based on Plaintiff’s theory of recovery.

 6            21.      Compensatory Damages. In his Complaint, Plaintiff seeks to recover compensatory

 7   damages including “lost wages and other employment benefits.” Ex. 1, ¶¶ 24, 32, 40, 45, 51, 58, 65, and

 8   Prayer.) Plaintiff’s Complaint alleges multiple claims under the FEHA for discrimination, hostile work

 9   environment/harassment, failure to prevent such harassment, and retaliation. See Ex. 1. Plaintiff also
10   alleges claims for wrongful termination, intentional infliction of emotional distress, and unfair

11   competition. Id.

12            22.      Plaintiff alleges he worked as a Customer Service Associate III for Defendant. Ex. 1, ¶12.

13   Plaintiff alleges he was terminated on or about July 17, 2018. Id., ¶15. At that time Plaintiff was earning

14   $17.69 per hour. Wynsen Decl., ¶6. Conservatively estimating a January 2022 trial date (twelve months

15   after the Complaint was filed), and assuming a 40 hour work week, Plaintiff’s lost wages alone would

16   amount to approximately $125,706; i.e., approximately 41 months between his alleged termination and

17   trial multiplied by $3,066 per month.

18            23.      In addition to back pay, a plaintiff who prevails on a claim for wrongful termination or

19   discriminatory discharge of employment may be entitled to either reinstatement or an award of “front pay”
20   in lieu of reinstatement. See, e.g., Cassino v. Reichhold Chemicals, Inc., 817 F.2d 1338, 1346 (9th Cir.

21   1997) (stating that a court has discretion to award front pay in lieu of reinstatement); Secru v. Laboratory

22   Corp. of America, No. 3:09–cv–0619–LRH–RAM, 2009 WL 3755763, at * 2, n.3 (D. Nev. Nov. 9,

23   2009) (future lost wages alone can satisfy amount in controversy); James v. Childtime Childcare, Inc.,

24   No. Civ. S-06-2676 DFL DAD, 2007 WL 1589543, at *2, n.1 (E.D. Cal. June 1, 2007) (while courts

25   evaluate the amount in controversy at the time of removal, future lost wages are properly considered in

26   that calculation); see also Crum v. Circus Circuit Enters., 231 F.3d 1129, 1131 (9th Cir. 2000) (future

27   damages are properly considered in determining amount in controversy).

28
                                                          6
                        DEFENDANT LOWE’S HOME CENTERS, LLC’S NOTICE OF REMOVAL
     68634727v.1
                   Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 7 of 42



 1            24.      An award of three years’ front pay would entitle Plaintiff to more than $110,376 in

 2   additional recovery. See Traxler v. Multnomah Cty., 569 F.3d 1007, 1015 (9th Cir. 2010) (upholding

 3   district court’s decision to award nearly four years’ front pay in a wrongful termination suit); see also

 4   Glenn-Davis v. City of Oakland, No. C 02-2257 SI, 2008 WL 410239, *4 (N.D. Cal. 2008) (finding

 5   three years of front pay “appropriate” in a discrimination suit); Ackerman v. Western Elec. Co., Inc., 643

 6   F. Supp. 836, 856 (N.D. Cal. 1986) (same). Thus, Plaintiff’s allegations of lost wages alone exceed the

 7   $75,000 jurisdictional threshold.

 8            25.      Emotional Distress Damages. In addition to compensatory damages, Plaintiff alleges that

 9   as a result of Defendant’s conduct he has suffered “severe emotional and physical distress,” and seeks
10   related damages. Ex. 1, ¶¶24, 32, 40, 45, 51, 58, and 65. Plaintiff also asserts a claim for intentional

11   infliction of emotional distress, and alleges that “Defendant’s actions directly and proximately resulted in

12   Plaintiff suffering and continuing to suffer extreme and severe anguish, humiliation, embarrassment,

13   emotional distress, mental suffering, nervousness, tension, anxiety, and depression …” Id., ¶70. In

14   Thompson v. Big Lots Stores, Inc., No. 1:16-cv-01464-LJO-JLT, 2017 WL 590261, *4 (E.D. Cal. 2017),

15   the Eastern District of California made clear that “[i]n determining the amount in controversy, a court may

16   assess likely emotional distress damages by reference to damages awards in similar discrimination cases.”

17   Applying that rule, the Thompson court found the defendant met its burden of showing that damages

18   awards for emotional distress in analogous cases are often substantial, where the defendant pointed to a

19   jury award of $122,000 in emotional distress damages to an employee who sued for pregnancy
20   discrimination and wrongful termination. Id.

21            26.      In fact, such damages may exceed $122,000. A review of jury verdicts in California

22   demonstrates as much. See, e.g., Silverman v. Stuart F. Cooper Inc., No. BC467464, 2013 WL 5820140

23   (Los Angeles Sup. Ct.) (jury awarded $157,001 for emotional distress damages in discrimination case);

24   Vasquez v. Los Angeles Cnty. Metro. Transp. Auth., No. BC484335, 2013 WL 7852947 (Los Angeles

25   Sup. Ct.) (award of $1,250,000 for pain and suffering to employee in violation of the CFRA and disability

26   discrimination action); Aboulafia v. GACN Inc., No. BC469940, 2013 WL 8115991 (Los Angeles Sup.

27   Ct.) (pain and suffering awards of $250,000, $250,000, $250,000, and $250,267 to four employees in

28   discrimination action); Ward v. Cadbury Schweppes Bottling Grp., 09CV03279(DMG), 2011 WL
                                                         7
                        DEFENDANT LOWE’S HOME CENTERS, LLC’S NOTICE OF REMOVAL
     68634727v.1
                   Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 8 of 42



 1   7447633 (C.D. Cal) (jury award $5,600,000 in non-economic damages in discrimination and retaliation

 2   case); Welch v. Ivy Hill Corp., No. BC414667, 2011 WL 3293268 (Los Angeles Sup. Ct.) (award of

 3   $1,270,000 in pain and suffering to employee in discrimination action); Leimandt v. Mega RV Corp., No.

 4   30-2010-00388086, 2011 WL 2912831 (Orange County Sup. Ct.) (jury awarded $385,000 in pain and

 5   suffering to employee in an discrimination case). These awards demonstrate that, for diversity purposes,

 6   the value of Plaintiff’s alleged emotional distress damages exceeds the $75,000 amount in controversy

 7   requirement.

 8            27.      Attorney’s Fees. Plaintiff claims statutory entitlement to attorney’s fees. Ex. 1, ¶¶24, 32,

 9   40, 46, 52, 58, 65, and Prayer. Attorney’s fees are properly considered in calculating the amount-in-
10   controversy for purposes of removal on grounds of diversity jurisdiction. Galt, 142 F.3d at 1156 (claims

11   for statutory attorney’s fees to be included in amount in controversy, regardless of whether such an award

12   is discretionary or mandatory). Under California Government Code Section 12965(b), the court in its

13   discretion may award fees and costs to the “prevailing party” in FEHA actions. Although the statute

14   provides that the court “may” award fees, cases hold that a prevailing plaintiff is entitled to fees “absent

15   circumstances that would render the award unjust.” Horsford v. Bd. of Trs. of Cal. State Univ., 132 Cal.

16   App. 4th 359, 394 (2005). Here, Plaintiff asserts six FEHA claims against Defendant in the Complaint.

17   Ex. 1, First through Sixth Causes of Action.

18            28.      Defendant anticipates that the Parties will propound written discovery, that depositions will

19   be taken in this case, and that Defendant will file a Motion for Summary Judgment. Lopez Decl., ¶4.
20   Here, if Plaintiff prevails, he could be entitled to an award of attorney’s fees that alone are “more likely

21   than not” to exceed $75,000, as is typical in employment discrimination cases. Indeed, courts have

22   awarded attorney’s fees in excess of $75,000 in cases involving discrimination. See, e.g., Crawford v.

23   DIRECTV, Inc., No. BC417507, 2010 WL 5383296 (Los Angeles County Sup. Ct.) (approving attorneys’

24   fee award of $159,762.50 in alleged discrimination action); Davis v. Robert Bosch Tool Corp., No.

25   B185408, 2007 WL 2014301, *9 (Cal. Ct. App. 2d Dist. July 13, 2007) (individual plaintiff sought $1.6

26   million in fees); Denenberg v. Cal. Dep’t of Transp., No. GIC836582, 2006 WL 5305734 (San Diego

27   County Sup. Ct.) (attorneys’ fees award of $490,000 for claims including discrimination case).

28
                                                           8
                        DEFENDANT LOWE’S HOME CENTERS, LLC’S NOTICE OF REMOVAL
     68634727v.1
                   Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 9 of 42



 1            29.      Punitive Damages. Plaintiff also seeks punitive damages in the Complaint. Ex. 1, ¶¶25,

 2   33, 41, 47, 53, 59, 66, 72, and Prayer. The Court must also consider Plaintiff’s request for punitive

 3   damages in determining the amount in controversy. Davenport v. Mutual Benefit Health and Accident

 4   Ass’n, 325 F.2d 785, 787 (9th Cir. 1963) (punitive damages must be taken into account where recoverable

 5   under state law). “Because plaintiff brings a claim under FEHA, and ‘[p]unitive damages are recoverable

 6   for FEHA violations,’ punitive damages may be included in the amount in controversy here.” Thompson,

 7   2017 WL 590261 at *4.

 8            30.      Courts have affirmed jury verdicts exceeding $1 million in punitive damages in alleged

 9   disability discrimination cases. See, e.g., Juarez v. Autozone Stores, Inc., No. 08cv417–L (BLM), 2011
10   WL 1532070 (S.D.          Cal., November 18, 2014) ($185 million verdict for plaintiff in pregnancy

11   discrimination case); see also Roby v. McKesson Corp., 47 Cal. 4th 686 (2009) (holding that a punitive

12   damage award of $1.9 million equal to the compensatory damage award was appropriate in disability

13   case).

14            31.      In sum, Plaintiff’s aggregated recovery on his claims, including compensatory damages

15   such as lost wages and emotional distress damages, attorney’s fees, and punitive damages, satisfies the

16   $75,000 jurisdictional threshold. While Defendant denies any liability as to Plaintiff’s claims, it is “more

17   likely than not” that the amount in controversy in this action exceeds $75,000, exclusive of interest and

18   costs, as required by 28 U.S.C. Section 1332(a).

19            32.      Because diversity of citizenship exists between Plaintiff and Defendant, and the matter in
20   controversy between the Parties exceeds $75,000, this Court has original jurisdiction of the action pursuant

21   to 28 U.S.C. Section 1332(a)(1) and removal is proper.

22   IV.      VENUE

23            33.      Venue lies in the United States District Court for the Northern District of California,

24   pursuant to 28 U.S.C. Sections 84(c)(2), 1441, and 1446(a) because this action originally was brought in

25   the Superior Court of the State of California, County of Santa Clara. In addition, the action arose in the

26   County of Santa Clara because the facility where Plaintiff worked is in Sunnyvale, California. Therefore,

27   venue is proper because it is the “district and division embracing the place where such action is pending.”

28   28 U.S.C. §1441(a).
                                                          9
                        DEFENDANT LOWE’S HOME CENTERS, LLC’S NOTICE OF REMOVAL
     68634727v.1
                   Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 10 of 42



 1   V.       NOTICE OF REMOVAL TO PLAINTIFF AND THE SUPERIOR COURT

 2            34.      Pursuant to 28 U.S.C. Section 1446(d), written notice of the filing of this Notice of

 3   Removal will be promptly served on Plaintiff and filed with the Clerk of the Superior Court of the State

 4   of California, County of Santa Clara.

 5   VI.      PRAYER FOR REMOVAL

 6            Wherefore, Defendant prays that this civil action be removed from the Superior Court of the State

 7   of California, County of Santa Clara to the United States District Court for the Northern District of

 8   California.

 9
     DATED: March 11, 2021                   Respectfully submitted,
10
                                             SEYFARTH SHAW LLP
11
12
                                             By: __________________________________
13                                           Eric Lloyd
                                             Kiran S. Lopez
14                                           Attorneys for Defendant LOWE’S HOME CENTERS, LLC
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                         10
                        DEFENDANT LOWE’S HOME CENTERS, LLC’S NOTICE OF REMOVAL
     68634727v.1
   Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 11 of 42




EXHIBIT 1




                                                    EXHIBIT 1
                     Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 12 of 42




                                                                                                                        LDD / ALL
                                                                                                     Transmittal Number: 22738772
Notice of Service of Process                                                                            Date Processed: 02/10/2021

Primary Contact:           Heather McClow
                           Lowe's Companies, Inc.
                           1000 Lowes Blvd
                           Mooresville, NC 28117-8520

Entity:                                       Lowe's Home Centers, LLC
                                              Entity ID Number 2515365
Entity Served:                                Lowe's Home Centers, LLC
Title of Action:                              Chittaranjan Rao vs. Lowe's Home Centers, LLC
Matter Name/ID:                               Chittaranjan Rao vs. Lowe's Home Centers, LLC (10941766)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Discrimination
Court/Agency:                                 Santa Clara County Superior Court, CA
Case/Reference No:                            21CV375681
Jurisdiction Served:                          California
Date Served on CSC:                           02/09/2021
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Arash S. Khosrowshahi
                                              916-573-0469

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com
                           Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 13 of 42



                                            S U - -' ' - - O N S                                                                  FOR COURT USE ONLY
                                                                                                                              (SOLO PARA USO DE LA CORTE)
                                    (C/TAC/ON JUD/CIAL)
                                                                                                                  E-F ILED
  NOTICE TO DEFENDANT:                                                                                            1/4 2021 5:01 PM
  (AVISO AL DEMANDADO):                                                                                           Clerk of Court
  LOWE'S HOME CENTERS, LLC; and DOES 1 through 20, inclusive,
                                                                                                                  SU   erior COurt Of CA,
                                                                                                                  Coijnty of Santa Clara
  YOU ARE BEING SUED BY PLAINTIFF:
                                                                                                                  21 C V375681
  (LO ESTQ DEMANDANDO EL DEMANDANTE):
                                                                                                                        iewed By: R. Tien
  CHITTARANJAN RAO                                                                                                Melope: 5555900
   — 1 1— r uu 1 ldvc ueen suea. I ne cwurrt may aecloe agalnst you without your being heard unless you respond withln 30 days. Read the
   below.                                                                                                                                           information
     You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a
                                                                                                           written response at this court and have a copy
  served on the plaintiff. A lefter or phone call will not protect you. Your written response must be
                                                                                                       in proper legal form if you want the court to hear your
   case. There may be a court form that you can use for your response. You can find these court forms
                                                                                                             and more information at the Califomia Courts
   Online Self-Help Center (www.courtinfo.ca.gov/selfhe/p), your county law library, or the courthouse
                                                                                                           nearest you. If you cannot pay the filing fee, ask the
  court c[erk for a fee waiver form. If you do not file your response on time, you may lose the case by
                                                                                                           default, and your wages, money, and property may
   be taken without further warning from the court.
     There are other legal requirements. You may want to call an aftorney right away. If you do not know an
                                                                                                                  aftomey, you may want to call an attorney .
  referral service. If you cannot afford an attorney, you may be eligible for free legal services from a
                                                                                                          nonprofit legal services program. You can locate
  these nonprofit groups at the California Legal Services Web site (www.lawhelpcallfornia.org ),
                                                                                                     the California Courts Online Self-Help Center
  (www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court
                                                                                                                      has a statutory lien for waived fees arid
  costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien
                                                                                                       must be paid before the court will dismiss the case.
  iAV1S0! Lo han demandado. Si no responde dentro de 30 dias, la corte puede decidir en su
                                                                                                    contra sin escuchar su versibn. Lea /a informaci6n a
  continuaci6n.
     Tiene 30 DIAS DE CALENDARIO despues de que /e entreguen esta citacibn y papeles legales
                                                                                                      para presentar una respuesta por escrito en esta
  corte y hacer que se entregue una copia a/ demandante. Una carfa o una /lamada telefbnica
                                                                                                no lo protegen. Su respuesta por escrito tiene que estar
  en formato legal con•ecto si desea que procesen su caso en la corte. Es posible que haya
                                                                                            un formulario que usted pueda usar para su respuesta.
  Puede encontrar estos formularios de la corte y mSs informacidn en el Centro de Ayuda de las
                                                                                                  Cortes de Califomia (www.sucorte.ca.gov), en la
  biblloteca de leyes de su condado o en la corte que le quede m6s cerca. Si no puede pagar la cuota
                                                                                                        de presentacibn, pida a/ secretario de la corte que
  le dB un formulario de exencibn de pago de cuotas. Si no presenta su respuesta a tiempo,
                                                                                             puede perder el caso por incumplimiento y la corte le podr6
  quitar su sueldo, dinero y bienes sin mfis advertencia.
     Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no
                                                                                                     conoce a un abogado, puede llamar a un senricio de
  remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para
                                                                                                           obtener servicios lega/es gratuitos de un
  programa de servicios /egales sin fines de lucro. Puede encontrar estos grupos sin rines de lucro en
                                                                                                        el sitio web de California Legal Servlces,
  (www.lawhelpcalifomia.org), en el Centro de Ayuda de las Cortes de Califomia, (www.sucorte.ca.gov) o
                                                                                                            poniCndose en contacto con la corte o el
  colegio de abogados /oca/es. AV1S0: Porley, la corte tiene derecho a reclamarlas cuotas ylos
                                                                                                   costos exentos porimponer un gravamen sobre
  cua/quier recuperaci8n de $10,000 d mSs de valor recibida mediante un acuerdo o una concesi8n
                                                                                                     de arbitrafe en un caso de derecho civil. Tiene que
  pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
 The name and address of the court is:
                                                                                                         CASE NUMBER: (Numero del Caso):
 (EI nombre y direcc/on de /a corte es): Santa Clara County Superior Court
 Downtown Superior Court                                                                                           21CV375681
 191 North First Street, San Jose, California 95113
The name, address, and telephone number of plaintiffs attorney, or plaintiff
                                                                             without an aftorney, is: (EI nombre, la direccion y el numero
de telefono del abogado del demandante, o del demandante que no tiene
                                                                           abogado, es):
Arash S. Khosrowshahi, Liberty Man Law, 1010 F Street, Ste. 300,
                                                                  Sacramento, CA 95814; 916.573.0469
DATE: 1/4/2021 5:01                                         Clerk of Court                Clerk, by
(Fecha)             PM                                                                                                                                  , Deputy
                                                                                          (Secretario)            R. Tien                               (Adjunto)
 (For proof of service of this summons, use Proof of Service of Summons (form
                                                                                POS-010).)
 (Para prueba de entrega de esta citation use el formulario Proof of Service
                                                                             of Summons, (POS-010).)
  [sEAL]                          NOTICE TO THE PERSON SERVED: You are served
                                      1.   0      as an individual defendant. .. °%' >
                                      2.   0      as the person sued under the fictitious name of (specify):

                                      3.   ©      on behalf of (specify):         L.OW e rs         krMe                                   t' L     C—
                                            under: 0       CCP 416.10 (corporation)                           0      CCP 416.601minor)
                                                    ~      CCP 416.20 (defunct corporation)                   0      CCP 416.70 (conservatee)
                                                   [~    CCP 416.40 (association or pan`.nership)             0      CCP 416.90 (authorized person)
                                                   0     other (specify):
                                      4.   0      by personal delivery on (date)
Form Adoptad for Mandalary Use                                                                                                                                     .
Judiclal Councll of Califomla                                          SU M MON S                                               Code of Clvil Procedure §§ 412.20,
                                                                                                                                                           ra p' 465 r1
SUM-100 [Rev. July 1, 2008]                                                                                                                         www:courts.ca.gov
             Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 14 of 42


                                                                      E-FILED
                                                                      1/4/2021 5:01 PM
                                                                      Clerk of Court
 1     ARASH S. KHOSROWSHAHI (SBN: 293246)
                                                                      Superior Court of CA,
       LIBERTY MAN LAW
 2                                                                    County of Santa Clara
       1010 F Street, Ste. 300
                                                                      21CV375681
 3     Sacramento, California 95814
                                                                      Reviewed By: R. Tien
       Tel.: (916) 573-0469; Fax: (866) 700-0787
 4     Email: libertymanlaw@gmail.com
 5     Attorney for Plaintiff
 6     CHITTARANJAN RAO

 7
 8                              SUPERIOR COURT OF CALIFORNIA
 9                                      COUNTY OF SANTA CLARA
10
11     CHITTARANJAN RAO,                               Case No.: 21CV375681
12                         Plaintiff,                  COMPLAINT FOR DAMAGES AND
13     vs.                                             INJUNCTIVE RELIEF

14     LOWE'S HOME CENTERS, LLC; and               I     (1) RACE DISCRIMINATION IN
       DOES 1 through 20, inclusive,               ~         VIOLATION OF FEHA;
15                                                 ~     (2) NATIONAL ORIGIN
16                         Defendants.             ~         DISCRIMINATION IN
                                                   ~         VIOLATION OF FEHA;
17                                                 i     (3) ANCESTRY DISCRIMINATION
                                                   i         IN VIOLATION OF FEHA;
18                                                 i     (4) HOSTILE WORK
                                                   i         ENVIRONMENT HARASSMENT
19
                                                   i         IN VIOLATION OF FEHA;
20                                                 i     (5) FAILURE TO PREVENT
                                                             HOSTILE WORK
21                                                           ENVIRONMENT HARASSMENT
                                                             IN VIOLATION OF FEHA;
22                                                       (6) RETALIATION IN VIOLATION
23 I                                                         OF FEHA;
                                                         ('n WRONGFUL TERMINATION IN
24                                                           VIOLATION OF PUBLIC
                                                             POLICY;
25                                                       (8) INTENTIONAL INFLICTION OF
26                                                           EMOTIONAL DISTRESS;
                                                         (9) UNFAIR COMPETITION LAW.
27
                                                       DEMAND FOR JURY TRIAL
28                                                     DEMAND EXCEEDS $25,000



                                               1 of 15
            Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 15 of 42




 1          COMES NOW Plaintiff Chittaranjan Rao ("Plaintiff') for causes of action against
 2   Defendant Lowe's Home Centers, LLC ("Defendant") and Defendants Does 1 through 20
 3   (collectively "Defendants") alleged as follows:
 4                                               PARTIES

 5          1.      Plaintiff is, and at all relevant times was, an adult male residing in Santa Clara,

 6   California.

 7          2.      Plaintiff is informed and believes, and based thereon alleges, that Defendant is

 8   and at all relevant times was a limited liability company organized and existing under the laws oi

 9   the State of North Carolina, with its principal place of business at 1000 Lowe's Boulevard,

10   Mooresville, North Carolina, 28117.

11          3.      Defendant does business at 811 E. Arques Avenue, Sunnyvale, California 94085
     by operating Lowe's Home Improvement, a home appliance, gardening, and tool store.
     Defendant employed Plaintiff and more than five people Lowe's Home Improvement. As such,
     Defendant is and at all relevant times was an "employer" defined by the California Fair

15   Employment and Housing Act ("FEHA").

16          4.      Plaintiff is ignorant of the true names and capacities of Defendants sued herein as

17   Does 1 through 20, inclusive, and therefore sues these Defendants by such fictitious names.

18   Plaintiff will amend this Complaint to allege their true names and capacities when the same have

19   been ascertained. Plaintiff is informed and believes and thereupon alleges that each of the

20   fictitiously named Defendants is legally and/or equitably responsible for the occurrences herein

21   alleged.

22          5.      At all times herein mentioned Defendants, and each of them, were the agents and.

23   employees of the other Defendants, and each of them, and in doing the things hereinafter alleged,

24   were acting in the course and scope of the agency and employment and with the permission of

25   Defendants, and each of them.

26                                   JURISDICTION AND VENUE

27          6.      This Court has subject matter jurisdiction over this matter because at all time

28   relevant herein, Plaintiff was employed and terminated by Defendant in the County of Santa



                                                   2of15
            Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 16 of 42




 1
     Clara. Therefore Plaintiff s injuries occurred in Santa Clara County, State of California to a sum
 2
     of at least $25,000.
 3
            7.      Venue is proper in the County of Santa Clara because Plaintiff worked for
 4
     Defendant at Sunnyvale, California in the County of Santa Clara. Defendant has at all relevant
 5
     times maintained, `6wned/rented, and/or utilized properties in Santa Clara County, California, an,
 6
     committed wrongful conduct against Plaintiff in Santa Clara County, California.
 7
            8.      This Court is the proper court for trial in this action in that the acts and omissions
 8
     of Defendant as alleged herein were made within this Court's jurisdictional area.
 9
                                       GENERAL ALLEGATIONS
10
            9.      Plaintiff is a graduate of Syracuse University, with a bachelor's degree in
11
     Management Information Science. Plaintiff has had decades of experience in sales, specializing
12
     in home improvement merchandise, appliances, and tools for various home improvement and
13
     department stores such as Good Guys, Circuit City, The Home Depot, and his former employer,
14
     Defendant.
15
            10.     Defendant is a North Carolina limited liability company which owns
16
     approximately 2,200 Lowe's Home Improvement stores throughout the State of California and in
17
     the United States, including in Sunnyvale, Santa Clara County, California. Defendant specializes
18
     in selling various home appliance goods, gardening merchandise, and tools to its customers. In
19
     fiscal year 2019, Defendant is estimated to have generated approximately $72.1 billion in sales,
20
     and to have employed approximately 300,000 associates.
21
            11.     On or about September 17, 2017, Defendant hired Plaintiff as an at-will non-
22
     exempt part-time Store Seasonal Employee. Plaintiff's job duties included, but were not limited
23
     to, selling various home appliance goods. Plaintiff performed his job duties well, being
24
     motivated to provide quality customer service and to close sales.
25
            12.     Plaintiff did so well that soon after his hiring he was promoted as a full-time
26
     Customer Service Associate III on or about February 3, 2018. Plaintiff's job duties with this
27
     promotion included, but were not limited to, selling home appliance goods, becoming
28
     knowledgeable about various merchandising, and closing sales. Plaintiff performed his job duties


                                                   3of15
               Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 17 of 42




 1
       with excellence, and was even being considered by his supervisor for a further promotion to
 2
       Appliance Specialist during June 2018.
 3
               13.     However, during June 2018 Plaintiff began receiving discriminatory harassment
 4
       at the hands of a fellow worker, Mr. Rafael Loperno ("Mr. Loperno"). Mr. Loperno told Plaintif
 5
       that he would "crush"
                        ..   him "like an Indian bug" after spraying Lysol in Plaintiff's face. Plaintiff
 6
       is originally from the country of India, and is of Indian descent. Plaintiff immediately reported
 7
       the harassment to the store manager and human resources, but no action was taken.
 8
               14.     On July 17, 2018, Mr. Loperno again told Plaintiff that he would "crush" him
 9
       "like an Indian bug," and this time swung his fists at Plaintiff. Plaintiff once again reported the
10
       harassment to the store manager and human resources, but again no actions were taken to pi
11
       the discrimination and harassment by Mr. Loperno against Plaintiff. However, Plaintiff was
12
       reprimanded that same day for filing his report against Mr. Loperno, but under the pretext that
13
       Plaintiff had received various customer complaints he had until that point never been notified
14
       about. The, substance of these so-called customer complaints was never revealed to Plaintiff.
15
              15.     Ultimately, as part of his reprimand on July 17, 2018, Plaintiff was terminated in
16
       retaliation for reporting the continued harassment and discrimination he faced by Mr. Loperno.
17
       The pretextual and ostensible reason given for the termination was that Plaintiff was "in violation
18
       of Lowe's Policies and Procedures" without specifying exactly which policies and/or procedures
19
       Plaintiff allegedly violated.
20
              16.     Plaintiff is informed, believes, and based thereon alleges that Defendant
21
       discriminated against him because of his Indian race, national origin, and ancestry; engaged in
22
       hostile work environment harassment against Plaintiff for his Indian race/national
23
       origin/ancestry, and/or failed to prevent such harassment from its employee Mr. Loperno; and
24
       retaliated against Plaintiff for reporting the discrimination and harassment by terminating his
25
       employment, all in violation of FEHA.
26
              17.     On or about January 16, 2019, Plaintiff filed with DFEH a complaint charging
27 I
       Defendant with discrimination, harassment, and retaliation in violation of FEHA. On May 22,
28



                                                     4 of 15
            Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 18 of 42




 1
     2019, Plaintiff amended his DFEH complaint. On January 13, 2020, DFEH issued Plaintiff a
 2
     right-to-sue letter.
 3                                      FIRST CAUSE OF ACTION
 4                              (Race Discrimination in Violation of FEHA)
 5           18.     Plaintiff incorporates each allegation set forth in paragraphs 1 through 17.
 6           19.     At all times herein.mentioned, Government Code § 12940(a) was in full force and
 7   effect and binding upon Defendants, which prohibits "an employer, because of the race ... of any
 8   person, ... to bar or to discharge the person from employment ..., or to discriminate against the
 9   person in compensation or in terms, conditions, or privileges of employment."
10           20.     Plaintiff is, and at all times herein mentioned was an "employee" who is of the
     Indian race.

             21.     At all times herein mentioned, Plaintiff was qualified and competent to perform
     the duties of his position, and or any other which was available.
14           22.     Defendants knew or perceived that Plaintiff was a member of the Indian race.
15   Plaintiff is informed and believes and based thereon alleges that based upon his race, Defendants
16   terminated Plaintiff's employment.
17          23.      Plaintiff's race was a substantial motivating reason for Defendants' decision to
18   discharge Plaintiff. Plaintiff was harmed, and Defendants' conduct was a substantial factor in
19   causing Plaintiffs harm.
20          24.      As a result of Defendants' discrimination of Plaintiff, he has suffered and
21   continues to suffer damages in the form of lost wages and other employment benefits, and severe
22   emotional and physical distress, the exact amount of which will be proven at trial. Plaintiff also

23   seeks statutory attorney's fees and costs pursuant to Government Code § 12965.
24          25.      Defendants and each of them acted for the purpose of causing Plaintiff to suffer
25   financial loss and severe emotional distress and physical distress and are guilty of oppression and
26   malice, justifying an award of exemplary and punitive damages which will be proven at trial.
27
28



                                                   5of15
              Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 19 of 42




 1                                     SECOND CAUSE OF ACTION
 2                         (National Origin Discrimination in Violation of FEHA)
 3            26.     Plaintiff incorporates each allegation set forth in paragraphs 1 through 25.
 4            27.     At all times herein mentioned, Government Code § 12940(a) was in full force and
 5   effect and binding upon Defendants, which prohibits "an employer, because of the ... national
 6   origin ... of any person, ... to bar or to discharge the person from employment ..., or to
 7   discriminate against the person in compensation or in terms, conditions, or privileges of
 8   employment."
 9           28.      Plaintiff is, and at all times herein mentioned was an "employee" who is from the
10 I I country of India.
11           29.      At all times herein mentioned, Plaintiff was qualified and competent to perform
12   the duties of his position, and or any other which was available.
13           30.      Defendants knew or perceived that Plaintiff had his national origin in the country
14   of India. Plaintiff is informed and believes and based thereon alleges that based upon his national
15   origin, Defendants terminated Plaintiff's employment.
16           31.     Plaintiff's national origin was a substantial motivating reason for Defendants'
17   decision to discharge Plaintiff. Plaintiff was harmed; and Defendants' conduct was a substantial
18   factor in causing Plaintiff's harm.

19           32.     As a result of Defendants' discrimination of Plaintiff, he has suffered and
20   continues to suffer damages in the form of lost wages and other employment benefits, and severe
21   emotional and physical distress, the exact amount of which will be proven at trial. Plaintiff also
22   seeks statutory attorney's fees and costs pursuant to Government Code § 12965.
23           33.     Defendants and each of them acted for the purpose of causing Plaintiff to suffer
24   financial loss and severe emotional distress and physical distress and are guilty of oppression and
25   malice, justifying an award of exemplary and punitive damages which will be proven at trial.
26                                      THIRD CAUSE OF ACTION
27                            (Ancestry Discrimination in Violation of FEHA)
28           34.     Plaintiff incorporates each allegation set forth in paragraphs 1 through 33.



                                                    6of15
            Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 20 of 42




 1
            35.     At all times herein mentioned, Government Code § 12940(a) was in full force ani
 2
     effect and binding upon Defendants, which prohibits "an employer, because of the ... ancestry .
 3
     of any person, ... to bar or to discharge the person from employment ..., or to discriminate
 4
     against the person in compensation or in terms, conditions, or privileges of employment."
 5
            36.     Plaintiff is, and at all times herein mentioned was an "employee" who has Indian
 6
     ancestry.
 7
            37.     At all times herein mentioned, Plaintiff was qualified and competent to perform
 8
     the duties of his position, and or any other which was available.
 9
            38.     Defendants knew or perceived that Plaintiff had Indian ancestry. Plaintiff is
10
     informed and believes and based thereon alleges that based upon his ancestry, Defendants
11
     terminated Plaintiff's employment.
12
            39.     Plaintiff's ancestry was a substantial motivating reason for Defendants' decision
13
     to discharge Plaintiff. Plaintiff was harmed, and Defendants' conduct was a substantial factor in
14
     causing Plaintiff's harm.
15
            40.     As a result of Defendants' discrimination of Plaintiff, he has suffered and
16
     continues to suffer damages in the form of lost wages and other employment benefits, and sever
17
     emotional and physical distress, the exact amount of which will be proven at trial. Plaintiff also
18
     seeks statutory attorney's fees and costs pursuant to Government Code § 12965.
19
            41.     Defendants and each of them acted for the purpose of causing Plaintiff to suffer
20
     financial loss and severe emotional distress and physical distress and are guilty of oppression a
21
     malice, justifying an award of exemplary and punitive damages which will be proven at trial.
22
                                     FOURTH CAUSE OF ACTION
23
                   (Hostile Work Environment Harassment in Violation of FEHA)
24
            42.     Plaintiff incorporates each allegation set forth in paragraphs 1 through 41.
25
            43.     Government Code § 12940(j)(1) in pertinent prohibits an employer "...because of
26
     race, ... national origin, [or] ancestry, ... to harass an employee... Harassment of an employee ...
27
     shall be unlawful if the entity, or its agents or supervisors, knows or should have known of this
28
     conduct and fails to take immediate and appropriate corrective action. ... An entity shall take all


                                                   7of15
              Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 21 of 42




 1
       reasonable steps to prevent harassment from occurring. Loss of tangible job benefits shall not be
 2
       necessary in order to establish harassment."
 3
              44.     By nature of the acts alleged above and herein, Defendants were Plaintiffls
 4
       employer within the meaning of the FEHA. Plaintiff was subjected to unwanted harassing
 5
       conduct because he is of the Indian race, is from the country of India; and has Indian ancestry.
 6
       The harassing conduct by Defendants' employee Mr. Loperno, not to mention the attendant
 7
       physical abuse, was severe and pervasive. A reasonable person in Plaintiff's circumstances
 8
       would have considered the work environment to be hostile and abusive, and Plaintiff did
 9
       consider the work environment to be hostile and abusive. Mr. Loperno engaged in this conduct,
10
       while Defendants, its supervisors and agents knew or should have known of the conduct yet
11
       failed to take immediate and appropriate corrective action.
12
              45.     Plaintiff was harmed, and Defendants' conduct was a substantial factor in causing
13
       Plaintiff's harm. As a result, Plaintiff has suffered and continues to suffer damages in the form
14
       loss of earnings/wages, and future earning capacity, incidental and consequential damages, and
15
       other employment benefits, and severe emotional and physical distress, the exact amount of
16
       which will be proven at trial.
17
              46.     Plaintiff also seeks interest thereon, and attorneys' fees and costs in prosecuting
18
       her claim pursuant to Government Code § 12965.
19 I
              47.     The aforementioned acts of Defendants were willful, wanton, malicious,
20
       intentionzl, oppressive, and despicable, and were done in willful and conscious disregard of the
21
       rights, welfare, and safety of Plaintiff, and were with the express knowledge, consent, and
22 '
       ratification of Defendants, thereby justifying the awarding of punitive and exemplary damages in
23
       an amount to be determined at the time of trial.
24
                                        FIFTH CAUSE OF ACTION
25
           (Failure to Prevent Hostile Work Environment Harassment in Violation of FEHA)
26
              48.     Plaintiff incorporates each allegation set forth in paragraphs 1 through 47.
27
28



                                                      8of15
             Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 22 of 42




 1
             49.    Government Code § 12940(k) states that "[i]t is an unlawful employment
 2
     practice ...[f]or an employer ...to fail to take all reasonable steps necessary to prevent
 3
     discrimination and harassment from occurring."
 4
             50.    By nature of the acts alleged above and herein, Defendants were Plaintiff's
 5
     employer within the meaning of the FEHA. Plaintiff was subjected to harassment, discrimination
 6
     on the basis of his Indian race, national origin, and ancestry, yet was retaliated against in the
 7
     course of his employment with Defendants. Defendants failed to take all reasonable steps to
 8
     prevent such harassment, discrimination, and retaliation from occurring.
 9
             51.    Plaintiff was harmed, and Defendants' conduct was a substantial factor in causing
10
     Plaintiff's harm. As a result, Plaintiff has suffered and continues to suffer damages in the form of
11
     loss of earnings/wages, and future earning capacity, incidental and consequential damages, and
12
     other employment benefits, and severe emotional and physical distress, the exact amount of
13
     which will be proven at trial.
14
            52.     Plaintiff also seeks interest thereon, and attorneys' fees and costs in prosecuting
15
     her claim pursuant to Government Code § 12965.
16
            53.     The aforementioned acts of Defendants were willf-ul, watiton, malicious,
17
     intentional, oppressive, and despicable, and were done in willful and conscious disregard of the
18
     rights, welfare, and safety of Plaintiff, and were with the express knowledge, consent, and
19
     ratification of Defendants, thereby justifying the awarding of punitive and exemplary damages in
20
     an amount to be detennined at the time of trial.
21
                                        SIXTH CAUSE OF ACTION
22                                                                                                          '.a
                                      (Retaliation in Violation of FEHA)
23
            54.     Plaintiff incorporates each allegatiori set forth in paragraphs 1 through 53.
24
            55.     Government Code § 12940(h) makes it unlawful "For any employer. .. to
25
     discharge, expel, or otherwise discriminate against any person because the person has opposed
26
     any practices forbidden under this part or because the person has filed a complaint, testified, or
27
     assisted in any proceeding under this part."
28



                                                    9of15
            Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 23 of 42




 1
             56.    Defendants engaged in retaliatory conduct against Plaintiff by immediately
 2
     terminating his employment after Plaintiff reported discrimination and hostile work environment
 3
     harassment at the hands of his co-worker Mr. Loperno.
 4
             57.    Plaintiff is a member of the Indian race, is from the country of India, and has
 5
     Indian ancestry. Defendant knew of or perviceived Plaintiff's racial, national origin, and ancestral
 6
     status, given that Plaintiff reported multiple instances of being discriminated and harassed for his
 7
     status at the hands of Mr. Loperno. Rather than address Plaintiff's complaints, Defendant
 8
     terminated Plaintiff in retaliation for reporting Mr. Loperno's conduct. Plaintiff was harmed, and
 9
     Defendant's termination of Plaintiff was a substantial factor in causing Plaintiff harm.
10
            58.     As a result of Defendants' termination of Plaintiff, Plaintiff has suffered and
11
     continues to suffer damages in the form of lost wages and other employment benefits, and severe
12
     emotional and physical distress, the exact amount of which will be prroven at trial. Plaintiff also
13
     seeks statutory attorney's fees and costs pursuant to Government Code § 12965.
14
            59.     Defendants and each of them acted for the purpose of causing Plaintiff to suffer
15
     financial loss and severe emotional distress and physical distress and are guilty of oppression and
16
     malice, justifying an award of exemplary and punitive damages.
17
                                     SEVENTH CAUSE OF ACTION
18
                          (Wrongful Termination in Violation of Public Policy)
19
            60.     Plaintiff incorporates each allegation set forth in paragraphs 1 through 59.
20
            61.     A claim for wrongful termination in violation of public policy must be supported
21
     by a policy that is "(1) delineated in either constitutional or statutory provisions; (2) `public' in
22
     the sense that it `inures to the benefit of the public' rather than serving merely the interests of the
23
     individual; (3) well established at the time of the discharge; and (4) substantial and
24
     fundamental." (City ofMoorpark v. Superior Court (1998) 18 Ca1.4th 1143, 1159.)
25
            62.     Government Code § 12940 prohibits employers from discriminating and/or
26
     terminating an employee for exercising any right under the FEHA, which is a statutory provision
27
     inuring to the benefit of the public well established at the time of Plaintiff's discharge that is bo
28
     substantial and fundamental. This includes prohibitions against discrimination against an


                                                    10 of 15
                     Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 24 of 42




      1
            employee for their race, national origin, and ancestry under subdivision (a) therein; retaliation
      2
            reporting discrimination/harassment under subdivision (h) therein; hostile work environment
      3
            harassment under subdivision (j)(1) therein; and failure to prevent such harassment under
      4
            subdivision (k) therein.
      5
                     63.   As stated herein, Plaintiff is a member of the Indian race, is from the country of
      6
            India, and has Indian ancestry. As alleged herein, Defendants terminated Plaintiff based on his
      7
            race, national origin, and ancestry; created and/or failed to prevent a hostile work environment
      8
            because of Plaintiff s race, national origin, and ancestry; and retaliated against Plaintiff by
      9
            terminating his employment when he reported the discrimination and harassment he faced on-
     10
            the job, in violation of the public policies furthered by FEHA.
     11
                     64.   The conduct of Defendants constitutes unlawful discrimination and harassment
     12
            based on Plaintiff s race/national origin/ancestry status in violation of the California public
     13
            policy embodied in FEHA. Defendants' retaliatory termination also violates California public
     14
            policy embodied in FEHA. Plaintiff's race/national origin/ancestry, as well as his complaints to
     15
            Defendant about the treatment he faced from Mr. Loperno, were substantial motivating reasons
     16
            for Plaintiff's discharge, causing Plaintiff harm.
     17
                     65.   As a result of Defendants' discriminatory, harassing, and retaliatory actions taken
     18
            against him, Plaintiff has suffered and continues to suffer damages in the form of lost wages and
     19
            other employment benefits, and severe emotional and physical distress, the exact amount of
N.
     20 1
            which will be proven at trial. Plaintiff also seeks statutory attorney's fees and costs pursuant to
     21
            Code of Civil Procedure § 1021.5 and/or Government Code § 12965.
     22
                     66.   Defendants and each of them acted for the purpose of causing Plaintiff to suffer
     23
            financial loss and severe emotional distress and physical distress and are guilty of oppression a
     24
            malice, justifying an award of exemplary and punitive damages in an amount to be proven at
     25
            trial.
     26                                      EIGHTH CAUSE OF ACTION
     27                                (Intentional Infliction of Emotional Distress)
     28              67.   Plaintiff incorporates each allegation set forth in paragraphs 1 through 66.



                                                          11 of 15
              Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 25 of 42




 1
               68.    Defendants acted intentionally and/or recklessly and subjected Plaintiff to severe
 2
       emotional distress by committing outrageous acts against Plaintiff, including terminating
 3
       Plaintiff's employment because of his race/national origin/ancestry, and because he reported
 4
       discriminatory and harassing conduct against him by his co-worker.
 5
               69.     In doing the acts herein alleged, Defendants acted outrageously with the intent of
 6
       causing (or with reckless disregard of the probability of causing) severe emotional distress to
 7
       Plaintiff. Defendants' conduct was outrageous because Defendants knew Plaintiff was receiving
 8
       physical abuse and discriminatory/harassing conduct at the hands of Mr. Loperno, given that
 9
       Plaintiff reported his conduct to Defendant multiple times. Knowing this, Defendant fired
10
       Plaintiff right after he made his reports.
11
               70.     Defendants' actions directly and proximately resulted in Plaintiff suffering and
12
       continuing to suffer extreme and severe anguish, humiliation, embarrassment, emotional distress,
13
       mental suffering, nervousness, tension, anxiety, and depression, all to Plaintiff's detriment in a
14
       sum to be ascertained according to proof.
15
               71.     As a direct, foreseeable, and proximate result of Defendants' actions, Plaintiff has
16
       suffered, and continues to suffer, substantial losses in job opportunities, career losses, salary,
17
       bonuses, job benefits and other employment benefits he would have received had said
18
       Defendants' actions, and each of their actions, not caused his such emotional suffering and grief,
19
       all to Plaintiff's damage in a sum to be ascertained according to proof.
20
              72.     As a direct, foreseeable, and proximate result of Defendants' actions as alleged in
21
       this cause of action, which were intentional, malicious, oppressive, and made in a bad faith
22
       manner in an attempt to vex, injure, annoy, and or willfully and consciously disregarded
23
       Plaintiff's rights by taking the actions alleged in this cause of action, Plaintiff prays for punitive
24 I
       damages against Defendants to be ascertained according to proof, but in a sufficiently large
25
       amount to punish said Defendants, deter future conduct by said Defendant, and to make an
26
       example of said Defendant.
27
28 I



                                                      12 of 15
             Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 26 of 42




 1                                       NINTH CAUSE OF ACTION
 2                                          (Unfair Competition Law)
 3           73.       Plaintiff incorporates each allegation set forth in paragraphs 1 through 72.
 4           74.       The conduct of Defendants alleged herein, including Defendants' retaliatory
 5 I termination of Plaintiff and discrimination/harassment based on his Indian race/national
 6   origin/ancestry in violation of FEHA constitute false, unfair, fraudulent and deceptive business
 7   practices within the meaning of the Unfair Competition Law (Bus. & Prof. Code §§ 17200 et
 8   seq., hereinafter "UCL".)

 9           75.       Plaintiff is entitled to an injunction and other equitable relief against such
10   unlawful practices in order to prevent future damage, for which there is no adequate remedy at
11   law, and to avoid a multiplicity of lawsuits.
12           76.       As a result of their unlawful acts, Defendants should be enjoined from its herein

13   described conduct and restore to Plaintiff his wrongfully-withheld compensation pursuant to
14   Business & Professions Code § 17203. Plaintiff is informed and believes and based thereon
15   alleges that Defendants are unjustly enriched by their unlawful conduct and business practices as
16   alleged herein.
17           77.       As a direct and proximate result of the unfair business practices of Defendant,
18 I Plaintiff is entitled to equitable and injunctive relief, including full restitution and/or
19   disgorgement of all wages which have been unlawfully withheld from Plaintiff as a result of the
20   business acts and practices described herein, and enjoining Defendant to cease and desist from
21   engaging in the practices described herein.
22           WHEREFORE, Plaintiff prays for the following relief:
23           A. As to the First through Sixth Causes of Action:
24                     a. Compensatory damages according to proof at trial;
25                     b. General and special damages in order to compensate Plaintiff for loss of job
26                        security, failure to properly advance within his career, damage to reputation,
27                        expenses and physical, mental and emotional injuries according to proof at
28                        trial;



                                                      13 of 15
     Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 27 of 42




 1
            c. Exemplary and punitive damages according to proof at trial;
 2
            d. Reasonable attorneys' fees and costs pursuant to Government Code § 12965;
 3
            e. Prejudgment and post judgment interest; and
 4
            f. Any other relief the court deems proper.
 5
     B. As to the Seventh Cause of Action:
 6
            a. Compensatory damages according to proof at trial;
 7
            b. General and special damages in order to compensate Plaintiff for loss of job
 8
               security, failure to properly advance within his career, damage to reputation,
 9
               expenses and physical, mental and emotional injuries according to proof at
10
               trial;
11
            c. Exemplary and punitive damages according to proof at trial;
12
            d. Reasonable attorneys' fees and costs pursuant to Code of Civil Procedure §
13
               1021.5/Government Code § 12965;
14
            e. Prejudgment and post judgment interest; and
15
            f. Any other relief the court deems proper.
16
     C. As to the Eighth Cause of Action:
17
            a. General and special damages for mental and emotional injuries according to
18
               proof at trial;
19
            b. Exemplary and punitive damages according to proof at trial;
20
            c. Prejudgment and post judgment interest; and
21
            d. Any other relief the court deems proper.
22
     D. As to the Ninth Cause of Action:
23
            a. For preliminary and permanent injunctions pursuant to Business &
24
               Professions Code § 17203, enjoining and restraining Defendants from
25
               continuing the unlawful and unfair business practices set forth above and
26
               requiring the establishment of appropriate and effective means to prevent
27
               future violations;
28
           b. For restitution of wages and benefits due which were acquired by means of


                                           14 of 15
     Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 28 of 42




 1
             any unfair business practice, according to proof; and
 2
          c. Any other relief the court deems proper.
 3
                                           Dated this 30th of December, 2020
                                                                                 s► '
 4
                                                                                        r
 5
,6                                         Arash S. Khosrowshahi
                                           Attorney for Plaintiff Chittaranjan Rao
 7
 8
 9
10

11
12
13
14
15
16
17
18
19
20
21                                                                                          t



22
23
24

25
26
27
28



                                      15 of 15
                 Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 29 of 42

                                 SANTA CLARA COUNTY SUPERIOR COURT
                                   ALTERNATIVE DISPUTE RESOLUTION
                                         INFORMATION SHEET
Many cases can be resoived to the satisfaction of all parties without the necessity of traditional litigation, which can be expensive, time
consuming, and stressful. The Court finds that it is in the best interests of the parties that they participate in alternatives to traditional
litigation, inciuding arbitration, mediation, neutral evaluation, special masters and referees, and settiement conferences. Therefore, all
matters shall be referred to an appropriate form of Alternative Dispute Resolution (ADR) before they are set for trial, uniess there is good
cause to dispense with the ADR requirement.

What is ADR?
ADR is the general term for a wide variety of dispute resoiution processes that are aiternatives to litigation. Types of ADR processes
include mediation, arbitration, neutral evaivation, special masters and referees, and settiement conferences, among others forms.

What are the advantages of choosing ADR instead of litigation?
ADR can have a number of advantages over litigation:

   •     ADR can save time. A dispute can be resoived in a matter of months, or even weeks, whiie litigation can take years.

   •     ADR can save money. Attomey's fees, court costs, and expert fees can be reduced or avoided altogether.

   •     ADR provides more participation. Parties have more opportunities with ADR to express their interests and concerns, instead
         of focusing exciusiveiy on legal rights.

   •     ADR provides more control and fiexibiiity. Parties can choose the ADR process that is most likely to bring a satisfactory
         resoiution to their dispute.

   •     ADR can reduce stress. ADR encourages cooperation and communication, whiie discouraging the adversarial atmosphere of
         litigation. Surveys of parties who have participated in an ADR process have found much greater satisfaction than with parties
         who have gone through litigation.

What are the main forms of ADR offered by the Court?
 Mediation is an informal, confidential, flexibie and non-binding process in the mediator heips the parties to understand the interests of
everyone invoived, and their practical and legal choices. The mediator helps the parties to communicate better, expiore iegal and practical
settiement options, and reach an acceptable solution of the probiem. The mediator does not decide the solution to the dispute; the parties
do.

Mediation may be appropriate when:
  •     The parties want a non-adversary procedure
  •     The parties have a continuing business or personal relationship
  •     Communication probiems are interfering with a resolution
  •     There is an emotional eiement invoived
  •     The parties are interested in an injunction, consent decree, or other form of equitabie relief

Neutral evaivation, sometimes called "Early Neutral Evaluation" or "ENE", is an informal process in which the evaluator, an experienced
neutral lawyer, hears a compact presentation of both sides of the case, gives a non-binding assessment of the strengths and weaknesses
on each side, and predicts the likely outcome. The evaluator can heip parties to identify issues, prepare stipuiations, and draft discovery
plans. The parties may use the neutral's evaluation to discuss settlement.

Neutral evaivation may be appropriate when:
  •      The parties are far apart in their view of the law or vaiue of the case
  •      The case invoives a technical issue in which the evaivator has expertise
  •      Case pianning assistance wouid be helpfui and wouid save legal fees and costs
  •      The parties are interested in an injunction, consent decree, or other form of equitable reiief




CV-5003 REV 10/21/2020             ALTERNATIVE DISPUTE RESOLUTION INFORMATION SHEET
                                                   CIVIL DIVISION
                 Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 30 of 42


Arbitration is a less formal process than a trial, with no jury. The arbitrator hears the evidence and arguments of the parties and then
makes a written decision. The parties can agree to binding or non-binding arbitration. In binding arbitration, the arbitrator's decision is final
and compietely resolves the case, without the opportunity for appeal. In non-binding arbitration, the arbitrator's decision couid resoive the
case, without the opportunity for appeal, unless a party timely rejects the arbitrator's decision within 30 days and requests a trial. Private
arbitrators are allowed to charge for their time.

Arbitration may be appropriate when:
   •      The action is for personal injury, property damage, or breach of contract
          Only monetary damages are sought
          Witness testimony, under oath, needs to be evaluated
          An advisory opinion is sought from an experienced litigator (if a non-binding arbitration)

Civil Judge ADR allows parties to have a mediation or settlement conference with an experienced judge of the Superior Court. Mediation
is an informal, confidential, flexible and non-binding process in which thejudge heips the parties to understand the interests of everyone
involved, and their practical and legal choices. A settlement conference is an informal process in which the judge meets with the parties or
their attorneys, hears the facts of the dispute, heips identify issues to be resoived, and normally suggests a resoiution that the parties may
accept or use as a basis forfurther negotiations. The request for mediation or seftiement conference may be made promptiy by stipulation
(agreement) upon the fiiing of the Civil complaint and the answer. There is no charge for this service.

Civil Judge ADR may be appropriate when:
   •     The parties have compiex facts to review
   •     The case invoives muitiple parties and probiems
         The courthouse surroundings wouid he heipful to the settlement process

Special masters and referees are neutral parties who may be appointed by the court to obtain information or to make specific fact
findings that may lead to a resolution of a dispute.
Special masters and referees can be particulariy effective in compiex cases with a number of parties, like construction disputes.

Settlement conferences are informal processes in which the neutral (a judge or an experienced attorney) meets with the parties or their
attomeys, hears the facts of the dispute, helps identify issues to be resoived, and normally suggests a resoiution that the parties may
accept or use as a basis for further negotiations.
Seftlement conferences can be effective when the authority or expertise of the judge or experienced attomey may heip the parties reach a
resolution.

 What kind of disputes can be resolved by ADR?
Although some disputes must go to court, aimost any dispute can be resoived through ADR. This inciudes disputes invoiving business
matters; civil rights; collections; corporations; construction; consumer protection; contracts; copyrights; defamation; disabilities;
discrimination; empioyment; environmental problems; fraud; harassment; health care; housing; insurance; intellectual property; labor;
landlord/tenant; media; medical maipractice and other professional negiigence; neighborhood probiems; partnerships; patents; personal
injury; probate; product iiabiiity; property damage; real estate; securities; sports; trade secret; and wrongful death, among other matters.

Where can you get assistance with selecting an appropriate form ofADR and a neutral for your case, information aboutADR
procedures, or answers to other questions about ADR?

Contact:
Santa Clara County Superior Court
ADR Administrator
408-882-2530




CV-5003 REV 10/21/2020             ALTERNATIVE DISPUTE RESOLUTION INFORMATION SHEET
                                                   CIVIL DIVISION
   Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 31 of 42




EXHIBIT 2




                                                    EXHIBIT 2
                   Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 32 of 42



 1   SEYFARTH SHAW LLP
     Eric Lloyd (SBN 254390)
 2   elloyd@seyfarth.com
     Kiran S. Lopez (SBN 252467)
 3   klopez@seyfarth.com
     560 Mission Street, 31st Floor
 4   San Francisco, California 94105
     Telephone:    (415) 397-2823
 5   Facsimile:    (415) 397-8549

 6   Attorneys for Defendant
     LOWE’S HOME CENTERS, LLC
 7

 8                            SUPERIOR COURT OF THE STATE OF CALIFORNIA
 9                                       COUNTY OF SANTA CLARA
10

11   CHITTARANJAN RAO, an individual,                       Case No. 21CV375681
12            Plaintiff,                                    (Assigned for All Purposes to the Honorable
                                                            Peter H. Kirwan, Dept. 19)
13                     v.
                                                             ANSWER OF DEFENDANT LOWE’S
14   LOWE'S HOME CENTERS, LLC; and DOES 1                    HOME CENTERS, LLC TO PLAINTIFF’S
     through 20, inclusive,                                  UNVERIFIED COMPLAINT
15
              Defendants.                                    Complaint Filed: January 4, 2021
16                                                           Trial Date: None.
17

18

19            Defendant LOWE’S HOME CENTERS, LLC (“Defendant”) hereby answers the unverified

20   complaint (“Complaint”) of Plaintiff CHITTARANJAN RAO (“Plaintiff”) as follows.

21                                            GENERAL DENIAL

22            Pursuant to the provisions of California Code of Civil Procedure Section 431.30(d), Defendant

23   denies, generally and specifically, each and every allegation, statement, matter, and each purported cause

24   of action contained in the Complaint. Defendant further denies that Plaintiff has been damaged in any

25   amount whatsoever, by reasons of any acts or omissions of Defendant or any agent or employee of

26   Defendant. Defendant denies that Plaintiff is entitled to any damages, punitive or otherwise, in any sum

27   or amount, or any other relief, whatsoever.

28


                        ANSWER OF DEFENDANT TO PLAINTIFF’S UNVERIFIED COMPLAINT
     68439035v.1
                   Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 33 of 42



 1                                   SEPARATE AFFIRMATIVE DEFENSES

 2            In further answer to Plaintiff’s Complaint, Defendant alleges the following separate and distinct

 3   additional defenses to each and every cause of action therein. In asserting these defenses, Defendant does

 4   not assume the burden of proof as to matters that, pursuant to law, are Plaintiff’s burden to prove.

 5                                       FIRST AFFIRMATIVE DEFENSE

 6                                       (Failure to State a Cause of Action)

 7            1.       Plaintiff’s Complaint, and each purported cause of action contained therein, fails to state

 8   facts sufficient to constitute a cause of action or claim for relief against Defendant.

 9                                      SECOND AFFIRMATIVE DEFENSE
10                                              (Statute of Limitations)

11            2.       Plaintiff’s Complaint, and each purported cause of action contained therein, is barred by

12   the applicable statute of limitations for each cause of action contained therein, to the extent that the

13   allegations occurred outside of the statutory period, including, but not limited to, California Code of Civil

14   Procedure Sections 335.1, 337, 338, 340, and 343, and California Government Code Sections 12960(d)

15   and 12965(b).

16                                       THIRD AFFIRMATIVE DEFENSE

17                                  (Failure to Exhaust Administrative Remedies)

18            3.       Plaintiff’s Complaint, and each purported cause of action contained therein, is barred in

19   whole or in part to the extent he failed to exhaust required administrative procedures or remedies or
20   otherwise failed to complete, in a timely manner, those steps that are a necessary prerequisite under the

21   law to the filing of the Complaint, including but not limited to the deadlines under California Government

22   Code Section 12940, et seq.

23                                     FOURTH AFFIRMATIVE DEFENSE

24                                                 (Unclean Hands)

25             4.      Plaintiff’s Complaint, and each purported cause of action contained therein, is barred by

26   the doctrine of unclean hands.

27

28
                                                           2
                        ANSWER OF DEFENDANTS TO PLAINTIFF’S UNVERIFIED COMPLAINT
     68439035v.1
                   Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 34 of 42



 1                                       FIFTH AFFIRMATIVE DEFENSE

 2                                                      (Estoppel)

 3            5.       Plaintiff is barred by the doctrine of estoppel from pursuing his Complaint and each

 4   purported cause of action contained therein. Plaintiff, by his own conduct and actions, is estopped, as a

 5   matter of law, from pursuing each of his claims.

 6                                       SIXTH AFFIRMATIVE DEFENSE

 7                                                      (Waiver)

 8            6.       Plaintiff has waived his right to assert the purported claims contained in the Complaint and

 9   each purported cause of action therein against Defendant. Plaintiff, by his own conduct and actions, has
10   waived the right, if any, to assert the claims in the Complaint.

11                                     SEVENTH AFFIRMATIVE DEFENSE

12                                                      (Consent)

13            7.       Plaintiff’s Complaint is barred, in part, because Plaintiff consented to Defendant’s conduct.

14                                      EIGHTH AFFIRMATIVE DEFENSE

15                                                    (Ratification)

16            8.       Plaintiff’s Complaint, and each and every cause of action alleged therein, is barred to the

17   extent that Plaintiff ratified Defendant’s alleged actions.

18                                       NINTH AFFIRMATIVE DEFENSE

19                                                       (Laches)
20            9.       Plaintiff is barred by the doctrine of laches from pursuing the Complaint and each

21   purported cause of action alleged therein because Plaintiff exercised inexcusable delay in commencing

22   this action.

23                                       TENTH AFFIRMATIVE DEFENSE

24                                                 (Lack of Standing)

25            10.      Plaintiff’s Complaint, and each cause of action contained therein, is barred to the extent

26   that Plaintiff lacks standing to assert any of the causes of action contained in the Complaint because

27   Plaintiff has not suffered any injury-in-fact.

28
                                                            3
                        ANSWER OF DEFENDANTS TO PLAINTIFF’S UNVERIFIED COMPLAINT
     68439035v.1
                   Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 35 of 42



 1                                    ELEVENTH AFFIRMATIVE DEFENSE

 2                                                (Lack of Causation)

 3            11.      Plaintiff’s alleged injuries and/or damages, if any, were not proximately caused by the acts

 4   or omissions of Defendant, and any injury and/or damages that Plaintiff alleges he suffered, if any, resulted

 5   from a cause or causes not legally or proximately related to any act or omission of Defendant. Further, to

 6   the extent Plaintiff suffered any symptoms of emotional distress or injury, they were the result of a pre-

 7   existing psychological disorder or alternative concurrent cause, and not the result of any act or omission

 8   of Defendant.

 9                                     TWELFTH AFFIRMATIVE DEFENSE
10                                      (Contribution By Plaintiff’s Own Acts)

11            12.      If the injuries and/or alleged damages in the Complaint occurred at all (which Defendant

12   denies), such injuries and/or alleged damages were proximately caused by and/or contributed to by

13   Plaintiff’s own acts, omissions, and/or failures to act.

14                                   THIRTEENTH AFFIRMATIVE DEFENSE

15                                               (At-Will Employment)

16            13.      Plaintiff’s Complaint is barred, in part, because his employment was at all times at-will.

17                                  FOURTEENTH AFFIRMATIVE DEFENSE

18                                    (Workers’ Compensation Act Preemption)

19            14.      To the extent Plaintiff’s Complaint, or any purported cause of action therein, alleges
20   physical or emotional injury or distress, this Court lacks jurisdiction, and any recovery is barred by the

21   exclusivity provision of the California Workers’ Compensation Act, California Labor Code Sections 132a

22   and 3200, et seq.

23                                    FIFTEENTH AFFIRMATIVE DEFENSE

24                              (Failure to Comply With The Employer’s Directions)

25            15.      Plaintiff’s Complaint is barred to the extent that he failed to comply with the directions of

26   Defendant concerning the service for which he was engaged and such obedience to Defendant’s directions

27   was neither impossible nor unlawful and would not impose new and unrealistic burdens.

28
                                                            4
                        ANSWER OF DEFENDANTS TO PLAINTIFF’S UNVERIFIED COMPLAINT
     68439035v.1
                   Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 36 of 42



 1                                    SIXTEENTH AFFIRMATIVE DEFENSE

 2    (Failure to Take Advantage of Preventive / Corrective Opportunities / Avoidable Consequences)

 3            16.      Defendant exercised reasonable care to prevent and/or correct any unlawfully

 4   discriminatory or retaliatory workplace conduct allegedly experienced by Plaintiff. Plaintiff unreasonably

 5   failed to take advantage of any preventive or corrective opportunities provided by Defendant or to avoid

 6   harm otherwise, and/or Plaintiff’s reasonable use of such procedures would have prevented all, or part, of

 7   the harm alleged suffered by him. Thus, Plaintiff’s Complaint, and each cause of action alleged therein,

 8   is barred, or, alternatively, his relief is limited.

 9                                  SEVENTEENTH AFFIRMATIVE DEFENSE
10                                           (Failure to Mitigate Damages)

11            17.      Plaintiff is barred from recovering any compensatory damages, and/or any recovery for

12   compensatory damages must be reduced, to the extent that he failed to exercise reasonable diligence to

13   mitigate his alleged damages.

14                                   EIGHTEENTH AFFIRMATIVE DEFENSE

15                             (Outside Course and Scope of Agency or Employment)

16            18.      Plaintiff’s Complaint, and each purported cause of action contained therein, is barred

17   because any unlawful or wrongful acts, to the extent they exist, taken by Defendant’s agents or employees

18   were outside the course and scope of their authority and such acts, if any, were not authorized, ratified, or

19   condoned by Defendant, nor did Defendant know nor should have Defendant known of such acts. Thus,
20   Defendant is not liable for any such conduct, if it occurred, and Plaintiff cannot recover against Defendant

21   for any loss, damages, or legal detriment so caused or so enhanced.

22                                   NINETEENTH AFFIRMATIVE DEFENSE

23                                          (Mixed Motive / Same Decision)

24             19.     To the extent that Plaintiff demonstrates that his alleged protected status or conduct was a

25   motivating factor for any challenged employment action, Defendant would have taken the same action in

26   the absence of such an impermissible motivating factor. Any monetary recovery on Plaintiff’s Complaint,

27   or any purported cause of action alleged therein, is barred because assuming arguendo that discriminatory

28   or retaliatory reasons had been a motivating factor in any decisions toward Plaintiff, which Defendant
                                                            5
                        ANSWER OF DEFENDANTS TO PLAINTIFF’S UNVERIFIED COMPLAINT
     68439035v.1
                   Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 37 of 42



 1   expressly denies, Defendant would have made the same decisions toward Plaintiff in any case for

 2   legitimate, non-discriminatory, non-retaliatory, independent business reasons. See Harris v. City of Santa

 3   Monica, 56 Cal. App. 4th 203 (2013).

 4                                   TWENTIETH AFFIRMATIVE DEFENSE

 5                                             (Managerial Discretion)

 6            20.      Any and all conduct of which Plaintiff complains, or which is attributable to Defendant

 7   and/or its agents or employees, was a just and proper exercise of managerial discretion, at all times

 8   privileged and justified, undertaken for fair and honest business reasons or belief, in good faith and without

 9   malice, and cannot form the basis of a valid damages claim.
10                                 TWENTY-FIRST AFFIRMATIVE DEFENSE

11                                            (Prompt Remedial Action)

12            21.      To the extent that Plaintiff complained of any unlawful conduct, prompt remedial action

13   was taken by Defendant.

14                                TWENTY-SECOND AFFIRMATIVE DEFENSE

15                                           (Legitimate Business Reason)

16            22.      Defendant had a legitimate business reason that was non-discriminatory and non-

17   retaliatory for all actions taken with respect to Plaintiff’s employment.

18                                 TWENTY-THIRD AFFIRMATIVE DEFENSE

19                                                      (Offset)
20            23.      Any recovery on Plaintiff’s Complaint, or any purported cause of action alleged therein, is

21   barred in whole or in part because under the equitable doctrine of setoff and recoupment Defendant is

22   entitled to an offset for any monies Plaintiff received from any source after Plaintiff ceased to be employed

23   under the doctrine prohibiting double recovery set forth by Witt v. Jackson, 57 Cal. 2d 57 (1961) and its

24   progeny.

25                               TWENTY-FOURTH AFFIRMATIVE DEFENSE

26                          (Failure To State A Claim For Relief For Punitive Damages)

27            24.      Plaintiff is not entitled to recover any punitive, double, or exemplary damages against

28   Defendant, and any allegations with respect thereto should be stricken, because Plaintiff has failed to plead
                                                           6
                        ANSWER OF DEFENDANTS TO PLAINTIFF’S UNVERIFIED COMPLAINT
     68439035v.1
                   Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 38 of 42



 1   and cannot prove facts sufficient to support allegations of oppression, fraud and/or malice pursuant to

 2   California Civil Code Section 3294(a).

 3                                 TWENTY-FIFTH AFFIRMATIVE DEFENSE

 4                                 (No Punitive Damages for Good Faith Conduct)

 5            25.      Plaintiff is not entitled to recover any punitive damages for decisions or actions that are or

 6   were contrary to the policies that his employer instituted in good faith against wrongful or unlawful

 7   conduct.

 8                                 TWENTY-SIXTH AFFIRMATIVE DEFENSE

 9                                (Award of Punitive Damages is Unconstitutional)
10            26.      To the extent that Plaintiff seeks punitive or exemplary damages in his Complaint, he

11   violates the right of Defendant to protection from “excessive fines” as provided in the Eighth Amendment

12   to the United States Constitution and in Article I, Section 17 of the Constitution of the State of California,

13   and the rights of Defendant to procedural and substantive due process under the Fifth and Fourteenth

14   Amendments to the United States Constitution and under the Constitution of the State of California.

15                               TWENTY-SEVENTH AFFIRMATIVE DEFENSE

16                                             (After-Acquired Evidence)

17            27.      Plaintiff's claims are barred, or he is precluded from recovering damages, to the extent that

18   Defendant learns through after-acquired evidence that he engaged in any fraud or other misconduct which,

19   if known, would have caused Plaintiff to be terminated.
20                                TWENTY-EIGHTH AFFIRMATIVE DEFENSE

21                                                    (Arbitration)

22            28.      By virtue of the fact that Plaintiff entered into an agreement to arbitrate that encompasses

23   all claims alleged in the Complaint, his claims are barred by his contractual agreement to arbitrate.

24   Plaintiff’s failure to submit his claims to arbitration bars the present action. Defendant expressly reserves

25   and does not waive its right to compel arbitration.

26                                           RESERVATION OF RIGHTS

27            Defendant presently has insufficient knowledge or information on which to form a belief as to

28   whether it may have additional, unstated defenses available to it. Defendant thus reserves the right to assert
                                                            7
                        ANSWER OF DEFENDANTS TO PLAINTIFF’S UNVERIFIED COMPLAINT
     68439035v.1
                   Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 39 of 42



 1   additional defenses in the event discovery and further investigation indicate that such defenses would be

 2   appropriate.

 3                                                      PRAYER

 4            Wherefore, Defendant prays for judgment as follows:

 5            1.       That Plaintiff takes nothing by way of the Complaint;

 6            2.       That judgment be entered in favor of Defendant and against Plaintiff on all causes of action;

 7            3.       That Defendant be awarded reasonable attorneys’ fees according to proof;

 8            4.       That Defendant be awarded costs of suit incurred herein; and

 9            5.       That Defendant be awarded such other and further relief as the Court may deem
10   appropriate.

11   DATED: March 10, 2021                    Respectfully submitted,

12                                            SEYFARTH SHAW LLP

13

14                                            By: __________________________________
                                              Eric Lloyd
15                                            Kiran S. Lopez
                                              Attorneys for Defendant LOWE’S HOME CENTERS, LLC
16

17

18

19
20

21

22

23

24

25

26

27

28
                                                            8
                        ANSWER OF DEFENDANTS TO PLAINTIFF’S UNVERIFIED COMPLAINT
     68439035v.1
                     Case 3:21-cv-01724-CRB Document 1 Filed 03/11/21 Page 40 of 42
      1                                                  PROOF OF SERVICE
      2             I am a resident of the State of California, over the age of eighteen years, and not a party to the
 1         within action. My business address isPROOF              OF SERVICE
                                                         560 Mission    Street, 31st Floor, San Francisco, California 94105.
      3    On September 21, 2018,1 served the within document(s):
 2             I am a resident of the State of California, over the age of eighteen years, and not a party to the
      4within  action.  My business address
                    RESPONDENT           SBM SITE is 560   Mission Street,
                                                        SERVICES       LLC’S31st   Floor, San Francisco,
                                                                                SUPPLEMENTAL                  California
                                                                                                         RESPONSE      TO94105.
 3     On March 10,    2021,   I  served  the  within  document(s):
                    CLAIMANT MARIA SEGURA OCHOA’S REQUEST FOR PRODUCTION OF
      5             DOCUMENTS NO. 11 (SET ONE)
 4             ANSWER OF DEFENDANT LOWE’S HOME CENTERS, LLC TO PLAINTIFF’S
      6        UNVERIFIED
             I—-                    COMPLAINT
                   I sent such document      from facsimile machines (415) 397-8549 on 9/21/18. I certify that said
 5           I_I transmission was completed and that all pages were received and that a report was generated by
      7            said facsimile
              by placing            machine which
                           the document(s)              above insaid
                                                listedconfirms         transmission
                                                                   a sealed  envelope and  receipt.
                                                                                         with postageI, thereafter, mailed
                                                                                                         thereon fully      a
                                                                                                                        prepaid,
 6
      8
                 copy
              in the     to theStates
                      United            mail party(ies)
                                 interested              in this action
                                             at San Francisco,           by placing
                                                                   California,
                   envelope(s) addressed to the parties listed below.
                                                                                addressed    as setthereof
                                                                                     a true copy            enclosed in sealed
                                                                                                    forth below.

 7            by personally delivering the document(s) listed above to the person(s) at the address(es) set forth
      9       , by placing the document(s) listed above in a sealed envelope with postage thereon fully prepaid,
              below.
             t~l in the United States mail at San Francisco, California, addressed as set forth below.
 8
     10       by placing the document(s) listed above in a sealed envelope or package provided by Federal
 9   11    I—| by contracting with Wheels of Justice for personal delivery of the document(s) listed above to
              Express
             I_I        with postage
                   the person(s)   at thepaid  on account
                                          address(es)        and deposited
                                                        set forth below. for collection with FedEx at San Francisco,
              California, addressed as set forth below.
10   12      I—| by placing the document(s) listed above in a sealed envelope or package provided by FedEx with
              by transmitting
                   postage paidthe on document(s)     listed above,   electronically,   via theate-mail   addressesCalifornia,
                                                                                                                     set forth
11   13    I_I
              below.
                                       account and deposited
                   addressed as set forth below.
                                                                 for collection  with FedEx       San Francisco,

12 14         I—| by transmitting the document(s) listed above, electronically, via the e-mail addresses set forth
                   below.
13 15           LIBERTY MAN LAW
                    Jack
                Arash   S. W.  Lee
                           Khosrowshahi
14 16               Lisa  P. Mak
                1010 F Street, Suite 300
                    Minami Tamaki
                Sacramento,            LLP
                                CA 95814
15 17
                Tel:360   Post573-0469
                       (916)   Street, 8th Floor
16 18               San   Francisco,
                Fax: (866) 700-0787  CA 94108
                    Tel:   415.788.9000
                libertymanlaw@gmail.com
17 19               Fax: 415.398.3887
                    j lee@minamitamaki .com
18 20               lmak@minamitamaki.com
   21         I am readily familiar with the firm's practice of collection and processing correspondence for
19    mailing. Under    that practice  it would   befirm's
                                                       deposited   with
                  I am readily   familiar with the           practice ofthe U.S. Postal
                                                                         collection       Service oncorrespondence
                                                                                     and processing  that same day with
                                                                                                                      for
   22postage   thereon  fully prepaid   in the  ordinary   course   of business.   I am aware  that
          mailing. Under that practice it would be deposited with the U.S. Postal Service on that   on motion
                                                                                                           sameofday
                                                                                                                   thewith
                                                                                                                       party
20    served, service is  presumed   invalid   if postal  cancellation   date or  postage  meter date is  more than  one  day
          postage thereon fully prepaid in the ordinary course of business. I am aware that on motion of the party
   23afterserved,
           date ofservice
                    depositisfor  mailinginvalid
                              presumed     in affidavit.
                                                   if postal  cancellation date or  postage meter date is more  than one  day
21
   24
          after date of deposit  for mailing  in  affidavit.
              I declare under penalty of perjury under the laws of the State of California that the above is true
22    and correct.I declare under penalty of perjury under the laws of the State of California that the above is true
   25     and correct. Executed on September 21, 2018, at San Francisco, California.
23            Executed on March 10, 2021, at San Francisco, California.
   26
24
     27
25                                                                                   Juliana Blackwell
     28
26

27                                                      PROOF OF SERVICE
            47988565v. 1

28


                                      PROOF OF SERVICE/CASE NO. 21CV375681
       68632356v.1
3/10/2021              Case 3:21-cv-01724-CRB Document
                                              Odyssey File & 1   Filed
                                                             Serve       03/11/21
                                                                   - Envelope Receipt Page 41 of 42




 Case # 21CV375681 - Chittaranjan Rao vs Lowe's Home Centers, LL
 Envelope Information
 Envelope Id                                       Submitted Date                                      Submitted User Name
 6005059                                           3/10/2021 1:26 PM PST                               weefile@nationwideasap.com


 Case Information
 Location                                          Category                                            Case Type
 Santa Clara – Civil                               Civil - Unlimited                                   Wrongful Termination

 Case Initiation Date                              Case #
 1/4/2021                                          21CV375681

 Assigned to Judge
 Kirwan, Peter


 Filings
 Filing Type                                       Filing Code
 EFile                                             Answer/Response/Denial/Demurrer - First
                                                   Appearance

 Filing Description
 ANSWER OF DEFENDANT LOWE’S
 HOME CENTERS, LLC TO PLAINTIFF’S
 UNVERIFIED COMPLAINT

 Client Reference Number
 SF38466

 Filing on Behalf of
 Lowe's Home Centers, LLC

 Filing Status
 Submitting



 Lead Document
    File Name                                       Description                          Security                             Download
    SF38466 Rao_Lowes - Defendant                   Answer/Response/Denial/…             Public                               Original File
    Answer to Plf Complaint.pdf                     - First Appearance




 Fees                                                                                                                                  Help




https://california.tylerhost.net/OfsWeb/FileAndServeModule/Envelope/ViewPrintableEnvelope?Id=6005059                                          1/2
3/10/2021               Case 3:21-cv-01724-CRB Document
                                               Odyssey File & 1   Filed
                                                              Serve       03/11/21
                                                                    - Envelope Receipt Page 42 of 42




 Answer/Response/Denial/Demurrer - First Appearance
 Description                                                                                           Amount
 Filing Fee                                                                                            $435.00
                                                                                  Filing Total: $435.00




 Total Filing Fee                                                                                      $435.00
 Payment Service Fee                                                                                    $13.22
 E-File Fee                                                                                              $3.50
 Court E-File Fee                                                                                        $2.05
                                                                             Envelope Total: $453.77

            Transaction Amount             $453.77
            Transaction Id                 9392799

            Filing Attorney                Eric Lloyd                        Order Id                            006005059-0
            Transaction Response           Authorized


 © 2021 Tyler Technologies
 Version: 2020.0.1.9148




https://california.tylerhost.net/OfsWeb/FileAndServeModule/Envelope/ViewPrintableEnvelope?Id=6005059                           2/2
